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                               UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig                 *           MDL No. 2179
       “Deepwater Horizon” in the Gulf          *
       of Mexico, on April 20, 2010             *           SECTION: J
                                                *
         Applies to: All Cases.                 *           JUDGE BARBIER
                                                *           MAGISTRATE SHUSHAN
*    *    *   *   *    *   *      *   *   *   * *



                                  PRE-TRIAL ORDER NO. ____

                           [CASE MANAGEMENT ORDER NO. 1]



         Considering the need for organization of this complex litigation, as well as the

suggestions of counsel at a conference on September 16, 2010, and the instructions of the

Manual for Complex Litigation, Fourth, Sections 22.6, 22.61, 22.62, and 22.63, the Court adopts

the following Case Management Order No. 1. It is hereby ORDERED as follows:

I.       APPLICABILITY OF ORDER

         This Order shall govern all cases (1) transferred to this Court by the Judicial Panel on

Multidistrict Litigation, pursuant to its Order of August 10, 2010; (2) any tag-along actions

subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant
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to Rule 7.4 of the Rules of Procedure of that Panel; and (3) all related cases originally filed in

this Court or transferred or removed to this Court. This Order does not supersede prior Pretrial

Orders issued in this proceeding, which shall remain in effect except to the extent inconsistent

with the provisions herein.

II.      FILING OF CASE MANAGEMENT ORDER NO. 1

         This Order shall apply to all cases removed to, or transferred to, this Court and cases

presently and subsequently filed in this Court that are within the subject matter of this MDL and

shall be deemed filed in each of these matters.

III.     PLEADING BUNDLES

         This proceeding is hereby separated into the following Pleading Bundles for purposes for

the filing of complaints, answers and any Rule 12 motions. The Pleading Bundles set forth in

this Order are provisional and may be modified on the Court’s own motion or for good cause

shown by any party.

         A.     Personal Injury and Death. Includes all personal injury and wrongful death

                claims resulting directly from the events of April 20, 2010. Such cases will be

                pled individually and shall not be included in any other Pleading Bundles or

                Master Complaints.

         B.     Private Individuals and Business Loss Claims. These Pleading Bundles will

                each be pled pursuant to Master Complaints as delineated below, and will include

                the following types of claims:


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        B1.    Non-Governmental Economic Loss and Property Damages. This

               Pleading Bundle will include, inter alia, the following types of current and

               anticipated claims: (i) Robins Dry Dock claims; (ii) OPA claims; and (iii)

               state law claims, which will be set forth, for administrative purposes, in

               one or more administrative Master Complaints.

        B2.    RICO Claims.       Any claims brought pursuant to RICO will be pled

               collectively and uniformly in a separate Consolidated Class Complaint.

        B3.    Medical Monitoring and Post-4/20/10 Personal Injury Claims. These

               claims will be pled separately and uniformly in a Master Complaint.

  C.    Public Damage Claims. These claims brought by governmental entities for,

        inter alia, loss of resources, loss of tax revenues, response costs and civil

        penalties shall not be included in any other Pleading Bundles or Master

        Complaints; however, counsel representing governmental entities shall meet and

        confer among themselves and with Plaintiffs’ Liaison Counsel to discuss the

        desirability of a Master Complaint for governmental claims. Plaintiffs’ Liaison

        Counsel shall thereafter discuss the desirability of a Master Complaint with

        Defense Liaison Counsel and report to the Court by October 15, 2010.

  D.    Injunctive and Regulatory Claims. These claims brought by private parties

        challenging regulatory action or authority and/or seeking injunctive relief will




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               each be pled pursuant to Master Complaints as delineated below, and will include

               the following types of claims:

               D1.    Claims Against Private Parties. These claims will be pled separately and

                      uniformly in a Master Complaint.

               D2.    Claims Against the Government or any Government Official or

                      Agency. These claims will be pled separately and uniformly in a Master

                      Complaint.

        E.     Designation of Subsequently-Added Cases.

               All cases subsequently added to this proceeding as a tag-along action or by

               removal or transfer to or original filing with this court shall be assigned to a

               Pleading Bundle as outlined in this section.

IV.     TIMING FOR FILING OF PLEADING

        A.     Filing of Complaints.

        Master Complaints, as designated above, shall be filed by December 15, 2010.           In

existing cases for Pleading Bundles not subject to the filing of a Master Complaint, amended

complaints, if any, must be filed by December 15, 2010, (or otherwise for good cause shown).

        B.     Defendants’ Responses.

        Defendants’ shall each file separate Answers to the Master Complaints, and all other

complaints or amended complaints not previously answered, by January 15, 2010, regardless of

whether any motions to dismiss are brought pursuant to Federal Rules of Civil Procedure


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12(b)(1), 12(b)(6) or 12(c), with the exception that cases for which Rule 12(b)(2) motions are

filed, no answer will be due prior to resolution of such motions. Prior to the briefing and hearing

of any Rule 12(b)(2) motions, the parties will be permitted to engage in jurisdictional discovery.

Memoranda in Opposition to any Rule 12(b)(1), 12(b)(6) or 12(c) motions shall be filed by

February 15, 2011. Reply Briefs shall be filed by February 28, 2011. The Court will set oral

argument on such motions as soon thereafter as the Court deems appropriate. Any third-party

complaints or cross-claims by Defendants must also be filed by January 15, 2010.

       C.      RICO Pleadings.

       All RICO claims shall be identified to Defendants’ and Plaintiffs’ Liaison Counsel within

10 days of the date of this Order. A Consolidated RICO Class Complaint and Consolidated Case

Statement will be filed by December 15, 2010. Defendants shall file and Answer or any Rule

12(b) or 12(c) motions to dismiss RICO claims by January 15, 2011. If an answer is filed or

motions to dismiss are denied, any discovery exclusive to RICO Claims shall be deferred

pending further order of this Court.

       D.      Claims in Transocean's Limitation Action

       In the Transocean Limitation, Docket No 10-2771, which was transferred from the

Southern District of Texas by order of that Court dated August 16, 2010, all claims were ordered

to be filed within said limitation, on or before November 15, 2010. Said Orders of the Southern

District of Texas Court are hereby amended to extend said claims date to February 1, 2012. All

claims in the Limitation action are to be filed in member case 10-2771 as per the Court’s August


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24, 2010 order.

V.     DISCOVERY

       A.     Defendants’ Initial Disclosures

       Defendants’ Initial Disclosures pursuant to Federal Rule of Civil Procedure 26(a) will be

served upon Plaintiffs’ Liaison Counsel by November 1, 2010, (unless a different date is

indicated below). The Defendants Rule 26 Initial Disclosure will include the following:

       1. Documents and information, including electronically stored information (“ESI”),

which have been produced to the Coast Guard / MMS / Marine Board Investigation, or to any

Congressional Committee or Sub-Committee. Electronically-stored documents or other data will

be produced in native format, or other reasonably usable form.          The parties will work

cooperatively to agree on an acceptable format. Hard copy paper documents will be produced in

searchable .pdfs or .tiffs with Summation and/or Concordance load files.        Documents and

electronically-stored information subsequently produced to such governmental entities will be

produced contemporaneously to Plaintiffs’ Liaison Counsel.

       2. Initial disclosure of certain relevant documents.      Defendants will produce the

following documents as part of their Rule 26(a) disclosures: insurance policies; declaration

sheets; drilling contracts; lease agreements; charter agreements; and indemnity agreements;

reservations of rights letters; AFEs; all drilling and or completion protocols, engineering and

similar documents; well plans; joint operating and exploration agreements; pre-explosion filings

with the MMS; identity, nature, and description of any safety mechanism or emergency shut-off


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valve, system, or mechanism with a full account of the intended functional capability,

maintenance performed or scheduled, inspections and known problems of the same; design

specifications of the Deepwater Horizon; and emails and electronic data to, from and about the

actions on the rig or with respect to the well for a period 60 days prior to the blowout.

       3. Persons with Knowledge and Employee Testimony. The areas of knowledge of each

individual identified under Rule 26(a)(1)(A)(i), together with relevant information as to each

person’s position within or relationship to the Defendant (or other party or entity); the areas of

responsibility and /or authority within the Defendant (or other party or entity); his or her

immediate supervisor, as well as those employees whom they supervise, manage, or direct; the

area of knowledge and expertise of each such witness; a brief description of where the individual

witness was during the 24-hour period prior to the explosion of the Deepwater Horizon; (to the

extent relevant) where each witness was and what his or her job responsibility was at the

moment of said explosion, (and/or) what the person’s job responsibility has been in connection

with the clean-up and/or well-control. Included within such disclosures, each Defendant shall

provide the identity (including name, address, telephone number, and job title or job description)

of any employee of the respective defendant who has provided testimony to the Marine Board of

Investigation or to the United States Congress in connection with the casualty of April 20, 2010

at the Macondo Well. Defendants shall also attach a written transcript of any such testimony to

the disclosures.

       4. Organizational charts. Defendants’ organizational charts in effect from January 2010


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through the present. As it pertains to the Deepwater Horizon, these charts should be delineated

by both position and name and should include the person's full name, their position(s), and their

location during the 48 hour, 24 hours, 12 hour, 6 hours, and 3 hours preceding the April 20,

2010 explosion.    Defendants should also include the chart at the moment of the explosion.

       6. Privilege logs. Privilege logs relative to any documents redacted and/or withheld

served contemporaneously with Defendants’ Rule 26(a) disclosures.

       7. Environmental Samples.         Defendants shall disclose the existence, nature, time,

location, custodian, testing, analysis and/or results of any and all water, oil, soil, air, tissue

and/or other environmental samples which have been taken or collected to date.

       8. Root Cause Analyses. Defendants shall produce any and all internal or independent

root cause analysis and/or self-critical analysis regarding the cause and/or causes of the

Deepwater Horizon blow-out, explosion, fire and/or resulting oil spill, including any and all

drafts of the foregoing, (including, but not limited to, any and all partial drafts, initial drafts, or

other drafts of BP’s Deepwater Horizon Accident Investigation Report).

       9. Defendants’ Networks.           Defendants’ Information Systems (IS), Management

Information System (MIS) and/or Information Technology (IT) manuals and/or protocols,

including schematics and/or diagrams of the portions of their computer networks which may

contain discoverable ESI, and the identification (with job title and location) of persons most

knowledgeable regarding same. (Due October 15, 2010)

       10. Retention policies. Defendants’ document and ESI retention and destruction policies


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from 2005 through the present. (Due October 15, 2010)

       11. Additional electronically-stored information.      The location(s) of documents and

electronically-stored information which are not produced in connection with the expanded

disclosures, but are described therein.

       B.      Phase I Discovery.

               1.      Jurisdiction

               In the event that any named Defendant challenges jurisdiction by motion pursuant

       to Rule 12(b)(2), discovery limited to jurisdictional issues shall proceed expeditiously

       thereafter. With respect to any defendant objecting to personal jurisdiction, the discovery

       obligations set forth herein will be imposed in the event that personal jurisdiction is

       established, to commence expeditiously upon order of the Court.

               2.      Blow-Out Liability, Limitation and Related Issues

               For discovery focused on the activities and events leading up to and including

       April 20, 2010, the following deadlines apply:

                       October 15, 2010: Plaintiffs’ initial written discovery requests served.

                       December 1, 2010: Defendants’ responses to initial requests served.

                       January 15, 2011: Fact Deposition Discovery Commences

                       June 1, 2011: Exchange of Expert Reports on Limitation Issues.

                       June 30, 2011: Expert Rebuttal Reports (if any).

                       July 1 - July 15, 2011: Depositions of Limitation Experts.


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                 August 1, 2011: Daubert Motions (if any).

                 September 1, 2011: Limitation Trial
                       (limited solely to whether Transcoean is entitled to limitation or
                       exoneration - other issues as to liability, including compensatory
                       and punitive damages deferred until a later date)

                 February 1, 2012: Revised Monition Date

          Notwithstanding the deadlines recited above, Plaintiffs may, at any time, seek

   summary judgment on issues relating to exoneration or limitation.

          3.     Environmental Samples (and Related Issues)

          Separate from the Disclosures outlined above, the parties anticipate that

   additional discovery relating to environmental sampling will be primarily in the form of

   third-party subpoenas and/or FOIA requests directed primarily to U.S. and State

   Agencies. Such discovery may commence immediately. The parties shall also meet and

   confer with one another and, to the extent appropriate, with third parties, regarding the

   preservation and/or testing of physical samples which have been collected and

   maintained.

          4.     Claims Facility

          Plaintiffs reserve the right to seek, during this initial discovery phase, production,

   by subpoena or discovery request, of all contracts or other commutations between BP and

   Feinberg Rozen, and Feinberg Rozen’s internal guidelines, protocols or other documents

   prepared by, in whole or in part, by Feinberg Rozen, the Escrow Fund, the Fund Trustees,



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       and/or the Claims Facility. Plaintiffs also believe that they will seek any and all GCCF

       claims data, documents and other information. Such discovery may commence at any

       time after the entry of this Order.

               5.      Information Systems and Management Information Systems

               Should Defendants object to any discovery requests propounded to them based

       upon claims of undue burden or that responsive information is not reasonably accessible,

       Plaintiffs may immediately thereafter commence discovery regarding such claims.

       C.      Written Discovery Requests

               Written discovery requests, and responses thereto, shall be made in accordance

       with the Federal Rules of Civil Procedure, except that the parties will be allowed to

       propound up to seventy-five (75) Interrogatories.

VI.    TEST CASES

       A.      OPA

       By March 1, 2011, the Plaintiffs Steering Committee shall identify four actions brought

under the Oil Pollution Act which will serve as test cases for liability and damage issues. The

Court shall issue a scheduling order for those four test cases.

       B.      Personal Injury

       By June 1, 2011, the Plaintiffs Steering Committee shall identify two individual actions –

one wrongful death and one non-physical injury – which will serve as test cases on all issues

relevant to the claims asserted by the plaintiffs therein. Discovery with respect to these two


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cases will commence immediately thereafter. The Court shall issue a scheduling order for the

trial of these two test cases, to be conducted within six months of when the Limitation issue is

determined by this Court, whether by trial or by summary adjudication.

        C.      Robins Dry Dock

        By June 1, 2011, the Plaintiffs Steering Committee shall identify two actions brought

under the General Maritime Law which will serve as test cases for liability and damage issues.

The Court shall issue a scheduling order for these two test cases.

VII.    STAY OF CLASS ACTION MOTION PRACTICE AND DEADLINES

        Local Rule 23.1 and motion practice and discovery on class certification issues is hereby

stayed for all cases until further order of this Court.

VIII. CLARIFICATION OF PRESERVATION REQUIREMENTS

        Section 14 of PTO No. 1 is clarified to expressly compel the preservation of any and all

documents, electronic data, and other information provided to, or generated within, the Gulf

Coast Claims Facility (GCCF).

IX.     ANTICIPATED ADDITIONAL PRE-TRIAL ORDERS

        The parties shall, within 15 days of the entry of this Order, meet to confer in good faith to

negotiate the following joint and stipulated, to the extent possible, pre-trial orders: (i) Protective

Order, (ii) Deposition Protocol, (iii) Document Production Protocol, (iv) E-Discovery Protocol,

and (v) Protocol for the Service of Pleadings and Discovery, whether via Lexis-Nexis File &

Serve or otherwise. Such proposed orders shall be filed with the Court within 30 days of the

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date of this Order.

        In addition, the parties shall meet and confer regarding the desirability and feasibility of

an order facilitating the direct filing of actions into the MDL.

        Plaintiffs’ Liaison Counsel shall also submit a proposed order governing the submission

of time and expenses by attorneys who may seek to make an application for common-benefit

reimbursement and/or awards.

X.      FILING OF PLEADINGS

        All motions, requests for discovery or other pre-trial proceedings with respect to

plaintiffs shall be initiated by and/or coordinated through the PSC, and filed by and through

Plaintiffs’ Liaison Counsel.     If the PSC does not support the motion, discovery or other

proceeding, then it shall include a certificate of non-support attached thereto.

XI.     SUPPLEMENTATION AND AMENDMENTS TO THIS ORDER

        This Order may be amended by Order of the Court in the event that Congress legislates

or directs amendments regarding any issue (including, but not limited to, the availability of an

exoneration/limitation defense) that affects any portion of the Deepwater Horizon litigation.

        Further, the provisions of this Order are provisional and may be modified on the in the

interests of justice, expedience or judicial economy on Court’s own motion or motion by the

parties for good cause shown.




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   New Orleans, Louisiana this _____ day of September, 2010.




                                      ______________________________________
                                      CARL J. BARBIER
                                      UNITED STATES DISTRICT JUDGE




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